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Attorneys for Plaintiffs

                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA
KLOOSTERBOER INTERNATIONAL )
FORWARDING LLC and ALASKA              )
REEFER MANAGEMENT LLC,                 )
                                       )
              Plaintiffs,              )
                                       )
        vs.                            )
                                       ) Case No.: 3:21-cv-00198 (SLG)
UNITED STATES OF AMERICA,              )
U.S. DEPARTMENT OF HOMELAND )
SECURITY, U.S. CUSTOMS AND             )
BORDER PROTECTION, and TROY A. )
MILLER, U.S. Customs and Border        )
Protection Acting Commissioner, in his )
official capacity,                     )
                                       )
              Defendants.              )
                                       )

      PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER
                   AND PRELIMINARY INJUNCTION
                    (Federal Rule of Civil Procedure 65)



KLOOSTERBOER V. UNITED STATES OF AMERICA, ET AL.          CASE NO. 3:21-cv-00198 (SLG)
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       Plaintiffs Kloosterboer International Forwarding LLC (“KIF”) and Alaska Reefer

Management LLC (“ARM”) respectfully move the Court for a Motion for Temporary

Restraining Order and Preliminary Injunction, pursuant to Federal Rule of Civil

Procedure 65. This motion is supported by the memorandum of law, declarations and

exhibits filed herewith.

        DATED this the 2nd day of September, 2021.

                                            BIRCH HORTON BITTNER & CHEROT
                                            Attorneys for Plaintiffs


                                            By:          /s/ David Karl Gross
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